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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:09CR48
                              )
          v.                  )
                              )
ROBERTO CAMACHO-GUTIERREZ,    )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motions

to appoint counsel (Filing Nos. 181 and 185).                 There are no

matters pending, and there are no provisions to appoint counsel

in a closed criminal matter.        The Court finds the motions should

be denied.   Accordingly,

           IT IS ORDERED that defendant’s motions for appointment

of counsel are denied.

           DATED this 31st day of August, 2011.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
